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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELA WARE

 COHERUS BIOSCIENCES, INC. ,                     )
                                                 )
                          Plaintiff,             )
                                                 )
                V.                               )             C.A. No. 19-139 (RGA)
                                                 )
 AMGEN INC. ,                                    )
                                                 )
                          Defendant.             )



                                  STIPULATION OF DISMISSAL

       WHEREAS, Plaintiff Coherus BioSciences, Inc. (" Coherus") brought this action against

Defendant Amgen Inc. ("Amgen") for infringement of U .S. Patent Nos. 10,155 ,039, 10, 159,732,

and 10,159,733 on January 24, 2019 (D.I. 1);

       WHEREAS, Coherus amended its complaint to add U.S. Patent No. 10,207,000 on

March 5, 2019 (D.I. 7);

       WHEREAS , Amgen answered the amended complaint, asserted affirmative defenses, and

filed counterclaims of non-infringement, invalidity, and unenforceability of the patents-in-suit on

April 18, 2019 (D.I. 10);

       IT IS HEREBY STIPULATED AND AGREED, by and between the parties hereto,

through their respective counsel, that pursuant to Federal Rule of Civil Procedure 41 (a)(l )(A)(ii) :

    1) All claims set forth in Coherus ' amended complaint (D.I. 7) are dismissed with prejudice;

   2) All counterclaims and affirmative defenses set forth in Amgen 's answer, affirmative

       defenses, and counterclaims (D.I . 10) are dismissed as moot.
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 FISH & RICHARDSON   P.C.                MORRJS , NICHOLS , ARSHT   & TUNNELL LLP


 Isl Robert M Oakes                      Isl Brian P. Egan
 Robert M. Oakes (#5217)                 Jack B. Blumenfeld (#1014)
 222 Delaware A venue, 17th Floor        Brian P. Egan (#6227)
 Wilmington, DE 19801                    1201 North Market Street
 (302) 652-5070                          P.O. Box 1347
 oakes@fr.com                            Wilmington, DE 19899
                                         (302) 658-9200
 Attorney for Plaintiff                  jblumenfeld@mnat.com
 Coherus BioSciences, Inc.               began@mnat.com

                                         Attorneys for Defendant
                                         Amgen Inc.


Dated: November 25 , 2019




                                           so ORDERED this ~   day of
                                                                        -Nov-·. 201-q




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